 Case 1:15-cr-00213-SJ Document 154 Filed 05/29/20 Page 1 of 1 PageID #: 1965

                 THE LAW OFFICES OF SEAN M. MAHER, PLLC



                                                            May 29, 2020



VIA ECF

Honorable Sterling Johnson, Jr.
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       RE:     United States v. Velentzas et al., (Noelle Velentzas),
               15 Cr. 213 (SJ)

Dear Judge Johnson:

       On behalf of Ms. Velentzas, I respectfully write to request that the sentencing hearing
scheduled for June 2, 2020 be rescheduled until mid-September 2020 in light of the
circumstances surrounding the COVID-19 pandemic.

     I have conferred with the government and all sides are available on any Tuesday,
Wednesday, or Thursday from September 16 through September 30.

     I have relayed this adjournment request to the government and have been informed by
AUSA Jonathan Algor that the government has no objection to this request.

       The Court’s consideration is greatly appreciated.


                                                            Respectfully submitted,


                                                            _________/S/____________
                                                            Sean M. Maher
                                                            Counsel for Noelle Velentzas

cc: All counsel (via ECF)




                    233 BROADWAY, SUITE 820, NEW YORK, NEW YORK 10279
                             (212) 661-5333 • (347) 548-9959 FAX
                                 WWW.SEANMAHERLAW.COM
